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14
                              UNITED STATES DISTRICT COURT
15
             NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
16

17
     UNITED STATES OF AMERICA,                     Case No. 14-CR-00175-WHA
18
                 Plaintiff,                        DECLARATION OF
19                                                 (“RISK MGMT.”) IN SUPPORT OF
           vs.                                     RESPONSE TO FOLLOW-UP
20                                                 QUESTIONS RE DIXIE AND FLY FIRES
   PACIFIC GAS AND ELECTRIC
21 COMPANY,
                                                   Judge: Hon. William Alsup
22               Defendant.

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       DECLARATION OF                     IN SUPPORT OF RESPONSE TO RESPONSE TO FOLLOW-UP
                                   QUESTIONS RE DIXIE AND FLY FIRES
                                       Case No. 14-CR-00175-WHA
         Case 3:14-cr-00175-WHA Document 1428-8 Filed 08/25/21 Page 2 of 4




 1            I,              , hereby declare under penalty of perjury as follows:

 2            1.    I make this declaration based upon personal knowledge and if called as a witness I

 3 could and would testify competently to the matters set forth herein.

 4            2.    I am the Director of Electric Operations Risk Management and Analytics for

 5 Pacific Gas and Electric Company (“PG&E”). In this position, I perform wildfire risk assessment

 6 and mitigation planning activities, including developing wildfire risk models and analytics. I am

 7 familiar with PG&E’s 2021 Wildfire Distribution Risk Model (the “Model”).1

 8            3.    PG&E uses the Model to assess wildfire risk associated with its distribution

 9 overhead circuits in the High Fire Threat Districts (“HFTDs”) Tier 3 (“Extreme”) and Tier 2

10 (“Elevated”). The Model seeks to quantify the risk of wildfire represented by the probability of

11 ignition associated with electric distribution overhead facilities combined with the consequences

12 should that ignition propagate into a wildfire.

13            4.    PG&E has approximately 25,500 miles of distribution overhead circuit miles in

14 HFTD Tiers 2 and 3. For purposes of the Model, PG&E segments its distribution circuits into

15 Circuit Protection Zones (“CPZs”) so that wildfire mitigation work can be more effectively

16 targeted. As explained in the 2021 Wildfire Mitigation Plan, CPZs are the smallest non-

17 overlapping sections of the distribution grid that can be de-energized.2 The WMP also explained

18 that CPZs for system hardening (e.g., covered conductor or undergrounding) are different than the

19 CPZs used for enhanced vegetation management (“EVM”).3 The CPZs are separately ranked by a

20 risk score based on the Probability of Ignition from equipment failure (“Equipment Risk Model”)

21 and the Probability of Ignition from contact from vegetation (“Vegetation Risk Model”),

22 combined with the Consequence of Ignition. There are 3,635 CPZs for system hardening in

23 HFTD Tiers 3 and 2; their average length is approximately 7 miles.

24

25   1
      The 2021 Wildfire Distribution Risk Model is discussed in PG&E’s 2021 Revised Wildfire
     Mitigation Plan (“WMP”) at pages 130-135.
26
     2
27       Revised 2021 WMP, p. 736.
     3
28       Revised 2021 WMP, p. 173.
     48122531.1                                      -2-
          DECLARATION OF                   IN SUPPORT OF RESPONSE TO FOLLOW-UP QUESTIONS RE
                                           DIXIE AND FLY FIRES
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 1            5.     With respect to the Equipment Risk Model, the elevated risk ranking of the CPZ

 2 that encompasses the span where the tree fell, Bucks Creek 1101CB, was based on the presence of

 3 an older and smaller gauge conductor, the presence of splices from prior conductor repairs, and

 4 estimates of acres burned and fire intensity generated from Technosylva fire modeling

 5 simulations. The Technosylva simulation tool models wildfire propagation by considering

 6 historical weather conditions and ground fuels, and wildfire consequence considering the

 7 proximity to buildings and populations during an 8-hour fire simulation. PG&E discusses the

 8 Technosylva Fire Consequence in its Revised WMP at pages 160-161.

 9            6.     Under an earlier model used to inform workplans in 2019 and 2020, which used a

10 different methodology and different vintage of CPZs, the CPZ that encompasses the span where

11 the tree fell ranked #1,605 out of 3,205 CPZs.

12            7.     Similar to the 2021 Wildfire Distribution Risk Model for Equipment, the 2021

13 Wildfire Distribution Risk Model for Vegetation develops a Probability of Ignition from

14 vegetation contact using a machine learning algorithm to estimate where ignitions could occur in

15 the HFTDs based on enhanced data and attributes related to trees, environmental (ground fuels),

16 and weather.

17            8.     The output of the Vegetation Risk Model is the basis of the Enhanced Vegetation

18 Tree Weighted Prioritization Ranking, which is used to develop the Enhanced Vegetation

19 Management Scope of Work. The ranking starts with the output from Vegetation Risk Model,

20 which combines the Probability of Ignition from contact from vegetation with the Consequences

21 of Ignition based on Technosylva fire modeling simulations. PG&E’s Vegetation Management

22 team then refines the risk score by incorporating additional information from LiDAR surveys,

23 vegetation inspections, and recent vegetation management treatments performed in 2019 and

24 2020. This process resulted in the EVM Tree-Weighted Prioritization List as follows:

25                   (a)    The Team re-aggregates the CPZ risk score from 100 meter x 100 meter

26            pixels (used in the Vegetation Risk Model) to 1 km x 0.7 km grid areas (known as Unified

27            Grid Maps, or PlatMaps) occupied by the CPZ. This is necessary to support the

28            methodology employed by PG&E in performing inspections.
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